EXHIBIT “K”
                                 Declaration of Wendi Goldsmith

Pursuant to 28 U.S.C. § 1746, I, Wendi Goldsmith, declare the following based upon my personal

knowledge:

       1.      My name is Wendi Goldsmith. I am 51 years old and competent to testify to all

facts contained in this declaration.

       2.      I have over twenty-seven years of experience applying earth science principles to

sustainable and disaster resilient planning, development, and natural resource restoration, much of

which involved critical infrastructure protection and sensitive facilities. I have led research and

development programs for the U.S. Department of Defense, developing methods for evaluating and

optimizing renewable energy and efficient/resilient buildings, infrastructure, and site design. I

played a lead role on the planning, design, and program management of the $14 billion post-Katrina

Hurricane Storm Damage Risk Reduction System, the first regional-scale climate adapted

infrastructure system in the US and winner of top national awards from the American Society of

Civil Engineers, the American Council of Engineering Companies, and others. I have also written

and presented extensively on climate change resilience in urban settings, and frameworks for

decision-making under risk and uncertainty, including book chapters, peer reviewed articles,

reports, formal seminars for multiple public agencies and academic institutions including Harvard

Graduate School of Design, Metropolitan Transit Authority of New York, U.S. Army Corps of

Engineers, and more. Given this extensive experience, I have expertise in the practical application

of climate science in the built environment.

       3.      I received a Doctor in Philosophy (PhD) in Climate Resilience Science,

Engineering, Economics and Business from Aarhus University in Denmark in 2016. I received a

Master of Science from the University of Massachusetts at Amherst in Plant and Soil Science in



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2002 and a Master of Arts from the Conway School in Ecological Land Planning Design in 1990.

I received dual Bachelor of Arts degrees from Yale University in Geology & Geophysics and

Studies in the Environment in 1988. I am a Licensed Professional Geologist in New Hampshire

and Louisiana, and a Certified Professional Geologist by the American Institute of Professional

Geologists. I am a Certified Professional in Erosion and Sediment Control and a Certified

Profession in Stormwater Quality by EnviroCert International.

       4.       In 1992, I founded Bioengineering Group, where I served as CEO until its sale in

2014. The mission of Bioengineering Group is to build sustainable communities on an ecological

foundation. As CEO, I led the planning, permitting and design of large-scale infrastructure projects

such as renewable energy generation, highways, stormwater management systems, flood control

facilities, and parks/greenways, as well as contaminated properties, including Superfund sites. I

also acted as an advisor for site development and infrastructure projects regarding sustainable

development methods suitable to changing climate and land use patterns. Prior to founding

Bioengineering Group, I was an Environmental Planner at Charles T. Main Inc. from 1990 to 1991,

where I conducted site investigations, worked on project planning and design, and prepared permit

applications for utility corridors, hazardous materials cleanup and restoration, and solid waste

containment and revegetation. I then worked as a Fluvial Geomorphologist for Bestmann

Igenieurbiologie GmbH in 1991, performing ecological restorations of rivers, streams, wetlands,

coastal areas, and reservoirs in Germany.

       5.       I have worked on disaster resilience infrastructure projects across and outside the

country for a diverse range of clients. A few examples include:

               Following Hurricane Sandy, I was selected to review climate science and

                geomorphology best practices in relation to disaster recovery and resilient



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    infrastructure improvements for LaGuardia Airport in New York, New York for

    two terminals operated by Delta Airlines. The project aimed to examine

    vulnerabilities and risks, identify appropriate mitigation measures and costs, and

    implement solutions that incorporated green infrastructure measures.

   When a cluster of hurricanes affected the Gulf of Mexico shortly after

    commencement of engineering for the Panama Canal Expansion Project, I was

    tapped by the design team to lead an interdisciplinary review to ensure use of global

    best practices for engineering with regard to climate change and disaster resilience.

    Under my guidance, the team identified several deficiencies which generally related

    to failure to address threats and vulnerabilities due to combined events, cascading

    cause-effect processes, and known forecasts of environmental conditions

    anticipated during the project’s service life. Specific recommendations were made

    to address improvements of the design to remedy these deficiencies.

   I led the Federal Reserve Bank Climate Risk Study in Boston, Massachusetts,

    which evaluated the risk from sea level rise and storm surge to its property in

    downtown Boston. The main gap in then-current understanding of facility

    vulnerability was the high potential for existing stormwater infrastructure to operate

    in reverse (bringing water into the site, rather than conveying it away) or to entirely

    rupture/collapse due to age and degraded condition during combined heavy

    rainfalls and high water levels in Boston Harbor. Study recommendations included

    increasing resilience through redundant measures including the construction of a

    stormwater “barricade” system, as well as modification/relocation of the facility’s

    existing mechanical systems.


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   I integrated climate science into New Orleans’ Hurricane and Storm Damage Risk

    Reduction System (HSDRRS) in Louisiana, a monumental undertaking to reduce

    flood vulnerability using multiple lines of defense surrounding New Orleans and

    its neighboring Parishes. Started in 2006, the project is the nation’s first

    infrastructure system accounting for climate change adaptation and resilience, and

    it resulted in approximately $30 billion in prevented damages during Hurricane

    Isaac in 2006. Unlike the multi-billion-dollar set of infrastructure elements before

    Katrina, the rapidly planned, designed, and constructed HSDRRS did not rely

    merely on hindward-looking data as the basis of design. Instead, it systematically

    defined and applied known trends in sea level rise, local land subsidence rates, and

    storm patterns (rainfall, wind speed, wind field size, and more) to encompass

    predicted future conditions throughout the intended service life of the project. The

    project resulted in adoption of new protocols for multi-parameter forecast-based

    engineering guidance by the US Army Corps of Engineers, effectively setting the

    standard in the US for such work.

   I led an Energy Quality Flow Analysis for Ultra-Low Communities for multiple

    Army installations seeking to reduce their vulnerability to loss of operations, while

    simultaneously improving their greenhouse gas footprint and reducing operating

    costs throughout facility life. Threats include changing climate conditions capable

    of shifting technical requirements and posing operational interruptions, as well as

    potential military contingency and terrorist incidents. The project identified cost-

    effective and risk-resilient energy choices, focusing on thermal energy through

    combined wastewater, district heating/cooling, and on-site renewables.


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               I led a Disaster Resilient Infrastructure Training Program for the Metropolitan

                Transportation Authority/New York City Transit to address recovery, disaster

                resilience and climate change factors following Hurricane Sandy. I ultimately

                researched and updated design team managers regarding global best practices for

                tunnel and rail flood mitigation, and recommended suitable climate change factors

                to guide design. The information aided the management team to identify specific

                deficits and feasible remedies to better coordinate multiple repairs and new

                construction elements in and around the New York City Subway System after it

                sustained billions in damages from Hurricane Sandy.

       6.       Outside of my career, I have dedicated myself to public service. In 1999, I co-

founded the Center for Urban Watershed Renewal, a non-profit organization revitalizing the

ecological, economic and social value of degraded urban sites. I have been a Board Director for

the Center since its founding and currently serve as President. From 2008 to 2012, I served as a

federal appointee to the National Women’s Business Council. I have been on the International

Council of Advisors for the Asian University of Women since 2010. Since 2014 I have served as

Board Director for the Soil and Water Conservation Society, where I remain an active member. I

am also a Fellow and lifetime member of the Society of American Military Engineers. In 2016,

the American Association of Engineering Societies and National Audubon Society awarded me

the Joan Hodges Queneau Palladium Medal. I am also a 2012 recipient of the Bronze Order of the

De Fleury Medal for inspirational leadership to the Army Engineer Regiment.

       7.       I am familiar with the case, Conservation Law Foundation, Inc. v. ExxonMobil

Corporation et al., 16-cv-11950, and have read both the plaintiff’s complaint, filed on September




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29, 2016, and the defendant’s motion to dismiss and memorandum of law in support, filed on

December 6, 2016.

       8.      With regard to claims that CLF and its members lack standing suitable for the case,

the defendants appear to lack knowledge of existing patterns of public use and access within

walking and boating reach of the ExxonMobil facility; these patterns are also reflected in the use

and interests of CLF members. While the number of greenway corridors and waterfront access was

once limited to the area a short distance away above the Mystic River Locks, for many decades

the pattern of broad public use and access has changed. For instance, several popular sites for

public waterfront use and boating/fishing access exist well within a mile radius from the tank farms

subject to the suit. Several hundred feet to the East is Mary O’Malley State Park, bordering Island

End River, the Mystic River, and the Admirals Hill development of the former Navy Yard, and

hosting multiple forms of waterfront access, including piers and small craft launch areas, plus

active/passive recreation facilities. Directly across the Mystic River from the tank farm is Ryan

Playground where families routinely fish and interface with the Mystic River. Roughly 1500 feet

to the West of the tank farm is Draw Seven State Park which is a much-loved canoe/kayak put-in

place informally used as a dog park and featuring a less manicured and more rustic set of paths

and waterfront access points, as well as a formal pier. Within the radius of one mile (well inside

the zone of potential exposure pathways for contaminants escaping the tank farm), other notable

waterfront facilities are used by the general public, often by small watercraft. The list is extensive,

but includes the National Park Service Historical Park and Museum where the USS Constitution

docks; Condor Street Urban Wild and related converted brownfield park sites owned by Boston

Conservation Commission; Little Mystic Access Area on Terminal St. and the nearby Barry

Playground; DCR parks along Mystic River Rd. fronting the Mystic and Malden Rivers;



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Wellington Greenway and River Path; and Constitution Beach, among others. I have personally

kayaked around the area and serve as Board Director for CUWR.org which submitted a proposal

to provide improved coastal resilience through wetland restoration and stormwater management

on a nearby site on Condor St. owned by Boston Redevelopment Authority, and which was

formerly occupied by a different tank farm on Chelsea Creek/River. During the planning studies

and field reconnaissance phase, I established extensive knowledge of local/regional petrochemical

facility land use history as well as neighborhood level stakeholder groups and individual residents.

Concerns about current vulnerability to future spills and other types of facility accidents is well

understood, based on past incidents at the ExxonMobil tank farm, other similar facilities, older and

more recent studies and maps identifying low-lying areas and other susceptible places, and also

many stepped-up policies and practices in the greater Boston area and nation as a whole geared to

better anticipating foreseeable impacts and preparing to avoid losses which pose real risk today

widely understood to worsen in the future.

       9.      Several of the Defendant’s claims, notably that the halfmoon pond-size water body

is manmade, are false, with numerous maps, surveys, and aerial photos clearly indicating that prior

to being filled for industrial use, the majority of the site and surrounding terrain consisted of

intertidal landforms, mainly marshes and mudflats. For instance, the 1903 USGS topographic

quadrangle depicting Boston Massachusetts and contiguous lands clearly displays the origins of

road network development near the site, while documenting continued marshlands and intertidal

channels existing where the halfmoon pond now remains as a remnant of past natural waterways

which categorically are inherently classified as navigable under federal statute, and also as subject

to Massachusetts Chapter 91 licensing under state statute.




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       10.     It is entirely possible for the Court to grant relief that would remedy the harms

suffered by CLF members. Specifically, the court could fashion relief that addresses ExxonMobil’s

apparent deficits in design criteria, assumptions about trends and combined effects contributing to

failure, and other factors resulting in lack of climate change preparedness at its Everett Facility. In

my professional experience, I have been called upon to perform and guide similar assignments, as

have other government and private sector entities and their contractors. Within Massachusetts and

within Federal government, notably the US Army Corps of Engineers, procedures and actions have

become increasingly common to reassess, identify, and remedy deficiencies in project design and

implementation, now that scientific consensus and relevant government policy is clear about how

natural disaster impacts influenced by climate change poses substantial (and increasing) threats to

public and private assets as well as public health and safety and the environmental.

       11.     The Defendant’s attempts to characterize the Plaintiffs concerns as dependent upon

theoretical, distant, and improbable scenarios fall flat. Known trends in changing rainfall intensity

are well explained by climate change models, but they are not “speculative.” Rather, they are based

on observations of historic events. First, in Massachusetts and the local region there have already

been numerous events which are officially recognized as being part of a pattern of extreme weather

conditions affected by climate change processes. One of these is the intense storm of 10 July 2010

that already caused discharge of pollutants from the tank farm. The US Geological Survey,

National Oceanographic and Atmospheric Administration, Northeast Climate Science Center, and

others haves published findings based on updated statistical methodologies that recent decades of

rainfall patterns show a peak 24-hour rainfall intensity which is on the order of 75% higher than

prior decades, in essence documenting that rainfall volumes experienced today are already almost

twice what they were understood to be in the past, due to climate change. Second, while the



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Defendant offers no scientific basis for substantiating the claim that the Everett tank farm facility

is unlikely to face any true threat, they specifically neglect to account for major shifts in scientific

understanding related to many types of change affecting complex and interdependent natural/built

systems where human land use patterns and other impacts inherently alter and shift patterns and

processes due to a wide range of factors. These concepts are broader than climate change, per se,

and reflect what many have characterized as a major scientific revolution in which responsible

analysis must include more than a cursory assessment of limited or selective data from the past,

but instead must account for risk and uncertainty connected with future conditions which broadly

cannot be assumed to resemble historic records, and often are understood through models and

forecasts. The highly-cited paper published in Science – Climate Change, “Stationarity Is Dead:

Whither Water Management?” (Milly, et al. 2008), provides an accessible treatment of this

important topic, and is considered by many professionals to mark a wholesale shift in practice

standards related to water resources planning and engineering.

        12.     Sea Level Rise in the distant future is not the only factor CLF is considering as it

views risk in the near and long terms. Rather, sea level rise combined with storm surge and also

wave height additively are capable of contributing to water surface elevations which can cause

overtopping, erosion, and other damaging impacts to the ExxonMobil tank farm. Sea level rise is

not necessarily a distant “theoretical” possibility, but rather a potentially sudden, though short-

lived, effect which periodically occurs due to ephemeral shifts in ocean currents which “stall”

water flows along the Atlantic US coast, causing it to “back up” at higher elevations. The Miami

FL area has experienced several such incidents which caused water surfaces to be 1.5 feet higher

than predicted. Due to the low-lying and porous local terrain, these short-lived unpredicted floods

placed salt water in contact with pumps and other equipment normally shut down in time to prevent



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salinity exposure. The costly damage to the equipment affects short- and long-term operability.

Throughout the North Atlantic coastline, similar incidents have occurred, though they are

frequently difficult for observers to distinguish from variations due to lunar and wind field effects.

This type of effect in the Atlantic Meridional Overturning Circulation (AMOC) flows is

understood to become more variabile due to several climate change factors, and currently

influences water surface elevations up to three feet or more, possibly more in the future under

specific circumstances.

       13.     The combined effects of sea level rise and intensified precipitation patterns, plus

erosion and geomorphic shifts in the nearby coastal and riverine corridors, has the potential to

affect the ExxonMobil tank farm in multiple ways it does not appear prepared for. Furthermore,

the man-made drainage systems on- and off-site have experienced periodic failures due to a range

of effects including backwater due to inundated outlets; sedimentation with road sand, eroded soils,

and other organic and inorganic particles; clogging with floatable debris such as flotsam carried

by marine or riverine overbank flows and urban floatables including bags, jugs, bottles, bins, and

other items able to block inlets and pipes.

       14.     The defendant’s claim that the CWA “permit shield” protections to applicants

provides relief from liability is hollow. The issue here is not whether there is any change in

regulations which would affect permitting standards the defendant is responsible to adhere to. Nor

is it the fact that CLF did not address these points during the NPDES permit public comment

period. The issue is that information has come to light, including information ExxonMobil had in

its possession (as did its key contractors on the project), which indicates failure to adhere to the

then-current as well as now-current standards of care regarding addressing known change factors

affecting the Everett location in particular. There is no evidence ExxonMobil has addressed the



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design criteria appropriate for critical infrastructure protection in an area subject to coastal storm

damage, yet evidence has emerged that the defendant and its contractors possessed information

related to knowing the threat. Furthermore, the defendant’s contractors have themselves applied,

and in some cases also contributed to the development of, the very standards which have been

adopted by multiple federal agencies. The 2006 HSDRRS design criteria were well known to

Shaw, for instance.

       15.     Hurricanes Katrina, Rita, and Sandy caused substantial impacts to coastal industrial

facilities, with ensuing spread of contaminants, as well as damage to the facilities themselves

which interrupted critical industrial supplies (such as fuel for cars, trucks, and back-up generators).

The U.S. Army Corps of Engineers was tasked through Federal Law 113-2, Chapter 4, to complete

a report detailing the results of a two-year study to address coastal storm and flood risk to

vulnerable populations, property, ecosystems, and infrastructure affected by Hurricane Sandy in

the United States' North Atlantic region from Virginia through New Hampshire, with an eye

towards spotting gaps between how projects were designed in their time, versus what is commonly

understood today to be an adequate standard. Known as the North Atlantic Coast Comprehensive

Study, it was intended to help local communities better understand the issue of changing flood

risks associated with climate change, and to equip them with tools to help prepare for future flood

risks. It builds on lessons learned from Hurricane Sandy and attempts to summarize and synthesize

the latest scientific information available for state, local, and tribal planners. The conclusions of

the study, as detailed in the final report, include several findings, outcomes, and opportunities,

such as the use of a nine-step Coastal Storm Risk Management Framework that can be customized

for any coastal watershed. I have not discussed the implications of the North Atlantic Coast




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Comprehensive Study with any government or private sector practicing professional who does not

regard it as an excellent encapsulation of current standards of “good engineering practices.”

       16.      In my opinion based on extensive professional work in this domain, plus

familiarity with other standards and practices by others, the “good engineering practices” standard

applicable to the Everett Terminal includes consideration of climate change impacts, and indeed

other pertinent new information potentially affecting the facility. Claiming that EPA does not

require climate change to be considered during or after a permit is issues implies that EPA does

not require any type of known change to data to be considered, which is patently false. Similarly,

much sea level rise in New England is attributed to geostatic rebound effects of bedrock in the

coastal zone, something which has been documented to have been occurring for roughly 10,000

years. The US Army Corps of Engineers first published its engineering recommendations based

on past and forecast sea level rise (driven by land subsidence) in 1992 and at the time did not use

a methodology which in any way accounted for climate change, merely historic data and known

geologic phenomena. Hence, to properly address and account for changes in sea level and storm

intensity is neither speculative, nor a distant future improbable point of concern.

       17.     While the EPA may not currently have published tools related to accounting for

climate change and other phenomena such as geostatic rebound which affect relative sea level rise,

other more appropriate Federal agencies do. The nation’s preeminent engineering organization,

the US Army Corps of Engineers, first published sea level rise guidance for designers in 1992, and

then made wholesale upgrades to the sophistication and comprehensiveness of their approach in

response to Hurricane Katrina during their effort to construct a coastal flood infrastructure system

designed to avoid similar future impacts. Part of their protocol includes planned regular updates to

their methodology and data as science and policy continue to develop. The nation’s single largest



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public works infrastructure investment, the $14 billion greater New Orleans HSDRRS, used the

USACE protocol and applied these principles, as have numerous other USACE and non-USACE

public and private projects initiated since 2006. I personally interfaced extensively with USACE

personnel and engineering staff from ARCADIS, Shaw, TetraTech, and other firms during the

conduct of planning, design, and construction management for the HSDRRS program, and can

attest to the broad and pragmatic familiarity with the principles and procedures to address predicted

future conditions, including those stemming from climate change. After Hurricane Sandy affected

the North Atlantic region, it became a federal priority to ensure that past infrastructure investments

were systematically managed in a way that adequately accounted for new information

corresponding to design performance and failure risks.

       18.     Based on the aforementioned observations that the Everett Terminal is already

experiencing climate change impacts, with or without future climate change factors, it is

increasingly susceptible to being inundated during a severe storm. Because of this apparently

inadequately addressed risk, the court should grant injunctive relief requiring ExxonMobil to

assess the vulnerabilities of the Everett Terminal in light of climate change, develop engineering

design plans to adequately address those vulnerabilities, and ultimately implement measures that

will protect Everett and other surrounding communities from contamination from this Terminal.

Many engineering organizations have been on record in broad and specific ways to include the

need to address climate change effects when addressing natural hazard mitigation and facility

design. The list of US and international professional organizations adopting, refining, and

promulgating guidance on the issue grows steadily. The Engineering Standard of Care doctrine

includes various considerations such as applying higher levels of certainty and lower degrees of

risk when addressing human health and safety, as opposed to matters of nuisance or preference.



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Identifying which data set to use when determining rainfall amounts for hydrologic calculations is

part of the engineering process, and there is not one method, but rather an expectation that

professionals will use adequately conservative sets of information, including publicly available

updates or identifications of known data gaps or shortfalls. In addition to responding to those public

interests required by its current permits (which in my professional opinion ExxonMobil has not

adequately addressed for permit compliance) I note that there appear to be problems related to self-

interest regarding asset preservation and continuity of operations due to unattended-to coastal

vulnerabilities. Hence the concerns CLF has raised are not only affecting the community, the

receiving waters, and CLF’s members, but also ExxonMobil shareholder interests. It raises the

question of whether potential liabilities have been diligently characterized and properly disclosed

in financial statements, shareholder reporting, and other documents beyond the current permit

related suit.



I swear, under penalty of perjury, that the foregoing is true and correct to the best of my knowledge.



Executed on December 19, 2016




                                                      ________________________________
                                                      Wendi Goldsmith, PhD




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